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PAUL J. FISHl\/IAN

United States Attorney
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United States Attorney
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Attorneys for United States of A_merica FILED

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

ANISSA ISRAEL, as Administrator : HON. JOSEPH H. RODRIGUEZ
Ad Prosequendum of the Estate of : HON. KAREN M. WILLIAMS

A’Heem Hudson, Deceased,

Plaintiff,
Civil Action No. 1 1-1824

v.
UNITED STATES OF AMERICA
Defendant.
STIPULATION FOR COMPROMISE SETTLEMENT AND RELEASE OF

FEDERAL TORT CLAIMS ACT CLAIMS PURSUANT TO 28 U.S.C. § 2677

It is hereby stipulated by and between the undersigned plaintiff (meaning
any person, other than the defendant, signing this agreement, Whether or not a
party to this civil action), and the defendant, the United States of Arnerica, by and
through their respective attorneys, as folloWs:

1. The parties do hereby agree to settle and compromise each and every

claim of any kind, Whether known or unknown, arising directly or indirectly from

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the acts or omissions that gave rise to the above-captioned action under the terms
and conditions set forth in this Settlement Agreement.

2. Defendant agrees to pay the sum of Three Hundred Thousand dollars
($300,000.00), which sum shall be in full settlement and satisfaction of any and all
claims, demands, rights, and causes of action of whatsoever kind and nature,
arising from, and by reason of any and all known and unknown, foreseen and
unforeseen bodily and personal injuries, damage to property and the consequences
thereof, resulting, and to result, from the subject matter of this settlement,
including any claims for wrongful death and any claims for pain and suffering, for
which plaintiff or her guardians, heirs, executors, administrators, or assigns, and
each of them, now have or may hereafter acquire against the United States of
America, their agents, servants, and employees

3. Plaintiff and her guardians, heirs, executors, administrators or assigns
hereby agree to accept the sums set forth in this Stipulation of Compromise
Settlement in full settlement and satisfaction of any and all claims, demands,
rights, and causes of action of whatsoever kind and nature, including claims for
wrongful death and claims for pain and suffering, arising from, and by reason of
any and all known and unknown, foreseen and unforeseen bodily and personal

injuries, damage to property and the consequences thereof Which they may have or

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hereafter acquire against the United States of America, their agents, servants and
employees on account of the same subject matter that gave rise to the
above-captioned action, including any future claim or lawsuit of any kind or type
whatsoever, Whether known or unknown, and whether for compensatory or
exemplary damages. Plaintiff and her guardians, heirs, executors, administrators or
assigns further agree to reimburse, indemnify and hold harmless the United States
of America, their agents, servants, and employees from and against any and all
such causes of action, claims, liens, rights, or subrogated or contribution interests
incident to or resulting from farther litigation or the prosecution of claims by
plaintiff or her guardians, heirs, executors, administrators or assigns against any
third party or against the United States, including claims for wrongful death and
claims for pain and suffering

4. This stipulation for compromise settlement is not, is in no way intended to
be, and should not be construed as, an admission of liability or fault on the part of
the United States of the America, their agents, servants, or employees, and it is
specifically denied that they are liable to the plaintiff This settlement is entered
into by all parties for the purpose of compromising disputed claims under the

Federal Tort Claims Act and avoiding the expenses and_risks of further litigation.

"v

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5. It is also agreed, by and among the parties, that the respective parties will
each bear its own costs, fees, and expenses and that any attorney’s fees owed by the
plaintiff will be paid out of the settlement amount and not in addition thereto.

6. It is also understood by and among the parties that pursuant to Title 28,
United States Code, Section 2678, attorney’s fees for services rendered in
connection with this action shall not exceed 25 per centum of the amount of the
compromise settlement,

7. The persons signing this Settlement Agreement warrant and represent that
they possess hill authority to bind the persons on whose behalf they are signing to
the terms of the settlement In the event any plaintiff is a minor or a legally
incompetent adult, plaintiff must obtain Court approval of the settlement at
plaintiffs expense Plaintiff agrees to obtain such approval in a timely manner:
time being of the essence. Plaintiff further agrees that the United States of America
may void this settlement at their option in the event such approval is not obtained
in a timely manner. In the event plaintiff fails to obtain such Court approval, the
entire Stipulation For Compromise Settlement And Release and the compromise

settlement are null and void.

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8. Payment of the settlement amount Will be made by an electronic fund

transfer for Three Hundred Thousand dollars ($ 300,000.00).

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A. Name of Plaintiffs Law Team Capital Bank
Firm’s Bank:

B. Street Address of Bank: 2151 Emrick Blvd.

C. City, State and Zip Code of Bethlehem, PA 18020
Bank:

D. Routing Number (9 digits): 031376224

E. Checking Account or Checking Account
Savings Account:

F. Payee Law Firm Account 13009824
Number:

 

 

Plaintiffs attorneys agree to distribute the settlement proceeds to the plaintiff and

to obtain a dismissal of the above-captioned action with prejudice, with each party

bearing its own fees, costs, and expenses.

Release, including all the terms and conditions of this compromise settlement and

9. The parties agree that this Stipulation for Compromise Settlement and

any additional agreements relating thereto, may be made public in their entirety,

and the plaintiff expressly consents to such release and disclosure pursuant to 5

U.s.c. section ssza(b).

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10. It is contemplated that this Stipulation may be executed in several
counterparts, with a separate signature page for each party. All such counterparts

and signature pages, together, shall be deemed to be one document.

Executed this 017 day of n‘f 20`14.

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PAUL J. FISI-IMAN
United States Attorney

raw 41

/By: IRENE E. D WDY
Assistant Unite ' tates Attorney
Attorneys for Defendant
United States of America

Executed this 9 7 day of ”‘ '§7, , 2014

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STARK & STARK, P.C.

 

 

 

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ANISSA ISRAEL, as Administrator Ad Prosequendum
of the Estate of A’Heem Hudson, Deceased

Plaintiff

Executed this gi 0 day of , 2014

